         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                     Case No. 5D2024-1737
                 L.T. Case No. 2012-CF-7413-A
                 _____________________________

LADON MAURICE GREEN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                 _____________________________


3.800 Appeal from the Circuit Court for Duval County.
Kevin Anthony Blazs, Judge.

LaDon Maurice Green, Century, pro se.

No Appearance for Appellee.

                        August 20, 2024

PER CURIAM.

    AFFIRMED. See Fla. R. App. P. 9.315(a).

MAKAR, KILBANE, and PRATT, JJ., concur.
          _____________________________

Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
           _____________________________




                       2
